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                             UNITED STATES DISTRICT COURT
     19                     CENTRAL DISTRICT OF CALIFORNIA
     20 MAINE STATE RETIREMENT                 ) No. 2:10-cv-00302-MRP(MANx)
        SYSTEM, Individually and On Behalf ) CLASS ACTION
     21 of All Others Similarly Situated,      )
                                               ) DECLARATION OF SPENCER A.
     22                           Plaintiff,   ) BURKHOLZ IN SUPPORT OF
                                               ) PLAINTIFFS’ REPLY IN SUPPORT
     23        vs.                             ) OF PLAINTIFFS’ MOTIONS FOR
                                                 FINAL  APPROVAL OF CLASS
                                               ) ACTION   SETTLEMENT, PLAN OF
     24 COUNTRYWIDE FINANCIAL                  ) ALLOCATION     OF SETTLEMENT
        CORPORATION, et al.,                   ) PROCEEDS, AND REQUEST FOR
     25                                        ) AN AWARD OF ATTORNEYS’ FEES
                                  Defendants. ) AND EXPENSES
     26                                        ) DATE: October 28, 2013
        [Caption continued on following page.]   TIME: 1:30 p.m.
     27                                          CTRM: 12, Hon. Mariana R. Pfaelzer
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      1 WESTERN CONFERENCE OF                  )   No. 2:12-cv-05122-MRP(MANx)
        TEAMSTERS PENSION TRUST                )
      2 FUND, Individually and On Behalf of    )   CLASS ACTION
        All Others Similarly Situated,         )
      3                                        )
                                  Plaintiff,   )
      4                                        )
              vs.                              )
      5                                        )
        COUNTRYWIDE FINANCIAL                  )
      6 CORPORATION, et al.,                   )
                                               )
      7                          Defendants.   )
                                               )
      8 DAVID H. LUTHER, et al.,               )   No. 2:12-cv-05125-MRP(MANx)
        Individually and On Behalf of All      )
      9 Others Similarly Situated,             )   CLASS ACTION
                                               )
     10                          Plaintiffs,   )
                                               )
     11              vs.                       )
                                               )
     12 COUNTRYWIDE FINANCIAL                  )
        CORPORATION, et al.,                   )
     13                                        )
                             Defendants.       )
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      1              I, SPENCER A. BURKHOLZ, declare as follows:
      2              1.    I am an attorney duly licensed to practice before all of the courts of the
      3 State of California and this District Court. I am a member of the law firm of Robbins
      4 Geller Rudman & Dowd LLP, one of the counsel of record for plaintiffs in the above-
      5 entitled action. I have personal knowledge of the matters stated herein and, if called
      6 upon, I could and would competently testify thereto.
      7              2.    Attached are true and correct copies of the following exhibits:
      8              Exhibit A: In re Enron Corp. Sec. Litig., No. H-01-3624, Lead Plaintiff’s
      9                           Amended Motion for Class Certification (S.D. Tex.), filed May
     10                           28, 2003;
     11              Exhibit B: In the Matter of the Application of the Bank of New York Mellon,
     12                           Index No. 651786/11 (New York Cnty. NY), trial testimony of
     13                           Terry Laughlin from June 10, 2013;
     14              Exhibit C: Bruce B. Bingham, FASA, Countrywide Financial Corp.
     15                           Valuation Analysis Prepared at the Request of Counsel (Capstone
     16                           Valuation Services, LLC), June 6, 2011;
     17              Exhibit D: In the Matter of the Application of the Bank of New York Mellon,
     18                           Index No. 651786/11 (New York Cnty. NY), trial testimony of
     19                           Daniel R. Fischel Sept. 9, 2013;
     20              Exhibit E:   In re Wells Fargo Mortgage-Backed Certificates Litig., No. 09-
     21                           CV-1376-LHK (PSG), Notice of Pendency of Class Action and
     22                           Proposed Settlement, Final Approval Hearing, and Motion for
     23                           Attorneys’ Fees and Reimbursement of Litigation Expense (N.D.
     24                           Cal.), dated July 26, 2011;
     25              Exhibit F:   Excerpts from In re Wells Fargo Mortgage-Backed Certificates
     26                           Litig., No. 09-CV-1376-SI, Amended Consolidated Class Action
     27                           Complaint for Violations of §§11, 12(a)(2) and 15 of the
     28                           Securities Act of 1933 (N.D. Cal.), filed May 28, 2010;
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      1              Exhibit G: In re Lehman Brothers Sec. & ERISA Litig., No. 09 MD 2017
      2                           (LAK), Notice of Pendency of Class Action and Proposed
      3                           Settlement, Final Approval of Hearing, and Motion for Attorneys’
      4                           Fees and Reimbursement of Litigation Expenses (S.D.N.Y.), dated
      5                           Apr. 12, 2012;
      6              Exhibit H: Excerpts from In re Lehman Brothers Sec. & ERISA Litig., No. 09
      7                           MD 2017 (LAK), Consolidated Securities Class Action Complaint
      8                           (S.D.N.Y.), filed Feb. 28, 2008;
      9              Exhibit I:   In re Lehman Brothers Sec. & ERISA Litig., No. 09 MD 2017
     10                           (LAK), Order Certifying Settlement Class, Approving Notice to
     11                           the Class and Scheduling of Final Approval Hearing (S.D.N.Y.
     12                           Mar. 22, 2012); and
     13              Exhibit J:   In re Enron Corp. Sec. Litig., No. H-01-3624, Notice of Hearing
     14                           for Final Approval of: (A) Plan of Allocation of Settlement
     15                           Proceeds; and (B) Plaintiffs’ Counsel’s Application for an Award
     16                           of an Attorney Fee and Lead Plaintiff’s and Certain Other
     17                           Persons’ Application for Reimbursement of Expenses (S.D. Tex.),
     18                           dated Dec. 20, 2007.
     19              I declare under penalty of perjury under the laws of the United States of
     20 America that the foregoing is true and correct. Executed this 21st day of October,
     21 2013, at San Diego, California.
     22                                                       s/ SPENCER A. BURKHOLZ
                                                               SPENCER A. BURKHOLZ
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         1                                  CERTIFICATE OF SERVICE
         2              I hereby certify that on October 21, 2013, I authorized the electronic filing of
         3 the foregoing with the Clerk of the Court using the CM/ECF system which will send
         4 notification of such filing to the e-mail addresses denoted on the attached Electronic
         5 Mail Notice List, and I hereby certify that I caused to be mailed the foregoing
         6 document or paper via the United States Postal Service to the non-CM/ECF
         7 participants indicated on the attached Manual Notice List.
         8              I certify under penalty of perjury under the laws of the United States of America
         9 that the foregoing is true and correct. Executed on October 21, 2013.
        10
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